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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                         :
             Plaintiff,                      Case No. 3:15MJ00311
                                         :

      -vs-                               :   Chief Magistrate Judge Sharon L. Ovington

IVAN GARCIA GUTIERREZ,                   :

             Defendant.                  :


                                 BINDOVER ORDER


      This matter was set for preliminary examination on September 4, 2015. Defendant

appeared with counsel and waived his right to a preliminary examination. The Court

found the waiver to be knowing and voluntary and therefore orders that Defendant be

bound over to the grand jury to answer the charge.


September 9, 2015                                    s/ Sharon L. Ovington
                                                        Sharon L. Ovington
                                                Chief United States Magistrate Judge
